» Case 2:97-cr-20234-.]PI\/| Document 109 Filed 08/03/05 Page 1 of 8 Page|D 71

 

   
   
 

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F“£D BY" IN THE UNITED sTATEs DISTRICT coURT "“D'°'
_ , t 8 FoR ma wEsTERN DISTRICT oF TENNESSEE 2505 Aug _ 3 :
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dr us dead odd < QM
w; ot tit dF-;MPHB~HTED sTATEs 0F AMERICA Q ,,- '~:\r v
./""
vs. /
M»;st> 97-20234-41 and
EDDIE JETER, 01 9 ‘~ 05-20014
\LQ‘X} .s

Defendant.

 

 

 

COMES NOW your Defendant, EDDIE JETER, by and through his Attorney of
Record, lake Erwin, and would respectfully request this Honorable Court to extend the
date for your Defendant to surrender to the Bureau of Prisons. In support of this motion,
your Defendant would respectfully`submit th_e following: n

1. Defendant would submit that he waste have undergone surgery to remove

one of his eyes in early July. Prior to having this surgery it was
discovered that he had two significant arterial blockages. On July 7, 2005,
Defendant was hospitalized and received two arterial stents.

2. Defendant is presently recovering, but has been advised that more surgery

may be likely due to lack of improvement

3. Moreover, Defendant is still in need of the eye surgery.

4. Defendant requests at least 30 additional days to surrender so that he may

continue his recovery, to determine whether more heart surgery is l
necessary, and whether he will have his eye surgery.

5. Attached hereto is Det`enda.nt’s current medical records.

This document entered on the docket ee |n eo prtanoe 1 §§
with Ftule 55 and/or 32(b) FHCrP on § ’4'0 /

Case 2:97-cr-20234-.]PI\/| Document 109 Filed 08/03/05 Page 2 of 8 Page|D 72

6. Counsel has consulted with Assistant United States Attorney Carol Andre,
who has advised that he has no objection to the request
WHEREFORE, PREMISES CONSIDERED, your Defendant respectfully
requests this Honorable Court to extend the time for which your Defendant should

surrender.

'=

RESPECTFULLY SUBMITI`ED,

{)/.§L\

J e Erwin #020728
WAGERMAN LAW FIRM

Suite 1313, 200 Jeff`erson Avenue

Mempl'u's, Tennessee 38103

(901) 527~0644

CERTIFICATE OF SERVICE

I, lake Erwin, certify that a copy of the foregoing Motion was furnished to the

U.S. Attorne 's Offlce, 167 N. Main, S'h Floor, Memphis, Tennessee on this é_ day of
a og| v 51 , 2005.

/’((o)e*§ for Defendant

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DD: 07/07/2005 08:44
BAPTIST rtEMORIAL HosPITAL
MEMPHIS, TE:I\INESSE:E

PATIENT
NAME: JETER, EDDIE D
ACCT#: E 0518300400 CARDIAC CATHETERIZATIOH

DICTATED BY: SHAHID I. KHAN, H.D.
PHYSICIAN: SHAHID I. KHAN, M.D.
ROOM#: 2127

UNIT#: 0000277090

DATE OF ADMISSION: 07/07/2005

DATE OF CATHETERIZATIOH: 07/07/2005

PROCEDURE:
PTCA and intracoronary_stent to proximal 90% left anterior

descending artery stenosis.

REFERRING PHYSICIAN: heOna Miller, M.D.

EQUIPMENT:
l. B~French JL4 guiding catheter.
2. Whisper 0.014 wire.

3. 3.5 x 24-mm long TAXUS drug-eluting stent-

PROCEDURE: After risks and benefits of procedure were
extensively explained to the patient and family in detail and
informed Consent was signed, the patient was brought to the
cardiac catheterization laboratory.

The patient's right groin was prepped and draped id_the usual
sterile fashion. Right femoral artery was cannulated with
n©dified Seldinger technique and an B*French introducer sheath
was positioned into the right femoral artery. An B-French JLd
guiding catheter was advanced. The left main coronary ostium was
engaged- Guiding Views were Obtained. The patient was given
Angiomax bolus and started on Angiomax drip. Whisper 0.014 wire
was shaped and advanced through the guiding catheter. Wire was
positioned into the distal`LAD. There was some ostial stenosis
of a small diagonal branch. A 3.5 x 24-mm long TAXUS drug-
eluting stent was prepped and advanced over the wire. Stent was
positioned at the area of stenosis. Stent was successfully
deployed at 18 atmospheres. Balloon was pulled out. Views were
obtained. There was good antegrade flow with no residual and no
dissection. There was some compromise of flow into the small
diagonal branch; however, the inflow got established.

Wire was redirected into the diagonal branch, unable to cross it.
Decision was made since the flow was established and it's a small

CARDIAC CATHETERIZATION
Page l Of 2

PRIHTED EY: MCM7524
DATE: 7/27/2005

 

 

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DD: 07/07/2005 08:44
BAPTlST MEMORIAL HOSPITAL
MEMPHIS, TEHNESSEE

PATIENT
NAME: JETER, EDDIE D
ACCT#: E 0518800400 CARDIAC CATHETERIZATIOH

DICTATED BY: SHAHID I. KHAN, M.D.
PHYSICILN: SHAHID I. KHAN, M.D.
ROOM#: 2127

UNIT#: 0000277090

diagonal branch not to proceed further because of inability to
cross the wire at the ostium of the diagonal- There was good
anteqrade flow into the LAD. There was some mild 40B_stenosis in
the distal LAD near the apex. Decision was made not=to_deploy
any stent over there.

The patient was given Integrilin bolus and was started on
Integrilin drip.

CONCLUSION: Successful percutaneous transluminal coronary
angioplasty (PTCA) and drug-eluting stent to 90% proximal left
anterior descending (LAD) stenosis.

CC: Leona Miller, M.D.

 

SHAHID I. KHAN, M.D.

CARDIAC CATHETERIZATION
Page 2 of 2
Authenticated by Shahid I- Khan, M.D. On 7/12/05 5:06:57 PM

PRINTED BY: MCM7524

DATE:

7/27/2005

 

 

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Brocnsuic;\is
sodium 142 142 mel/0 135-145
rcrAssrun 3.4 L 4.0 mel/0 3.5-5.0
cHLr)Rros 104 106 mel/ri 90-101
cannon 0101<103 29 27 mel/0 22-30
nunn cap 13 13 0-16
UREA NiTRocEN 14 13 mg/cu. ` 9-21
carariun:s 1.3 1.5 a cng/ar 0.5-1.4
B/c 11 9 11 10~20
GLUCOSE 09 101 mq/ar 10-115
CALCIUM 8.9 9-1 mq/dL 9.5-10.0
cusursrar

coLL.DArE: 01/01/05

coLL.'rer= 0059
mootness mrs arrests

LrPro PRoFrLr

rrncLYcEth)ss 100 - mq/di < 150
HDL cHoLrerRoL 32 L rug/dl >/= 40
Lor, cHoLasTEROL 30 mq/di < 130
Tc/HDL RATro 2.00 f
csorssrraor 92 mq/dl < 200
LEGEND

L =I_.ow, H =High, f = Footnote
= TRIGLYCERIDES, HDL CHOLESTEROL, LDL CHOLESTEROL, TC/HDL RATIO, CHOLESTEROL MEMPHIS PATHOLOGY LABORATORY
5846 DISTRIBUTION DR,MEMPHIS TN 38141

TC/HDL RATIO... 0?/07/05 0659 AVERAGE CORONARY RISK RATIO FOR MALES: 4.97

ADM DT: 07/07/2005 PT NAME: JETER, EDDIE D

DR. KHAN, SHAHID I AGE/SEX: 59 YRS M UNIT # {00002]00-00277090
DISCHARGE DATE: 07/08/05 ROGM NO: 2127 FIN #: 05188-00400

PRINTED BY: MCM7524
DATE: 7/27/2005

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HEMATOLOGY

CoLL.DATE: 07/08/05 0?/07/05

 

COLL.TIME: 0414 0659
PROCEDURE UNITS REF.RANGE
RED CELL PARAMETERS
RBC 4.42 4.74 M/uL 4.30~5.70
HEMOGLOBIN 13.4 L 14 . 1 g/dL 14 .0"18 .0
HEMATOCRIT 39.6 L 42.5 % 40.0-54.0
MCV 39.7 89.6 fl_. 80.0-97.0
MCH 30.3 29.6 pg 2?.0-32.0
MCHC 33.8 33.1 % ¢"` _ 32.0-36.0
RDW 12.5 12.6 % 11.5-14.5
PLATELET COUNT
PLATELETS 135 L 163 K/UL 150-500
MEAN PLT VOL 8.9 9.2 fL 7.4-10.4
WHITE CELL COUNT
WBC 5.3 4.B h K/uL 5.0-10.0

COAGULATION

COLL.DATE: 07/07/05
COLL.TIME: 1203
ACTIVATED CLOTTING TIME

ACTIVATED CLOTTING TIME
ACTIVATED CLOTTING TIME

SEE PATIENT CHART FOR LABORATORY RESULTS PERFORMED AT THE BEDSIDE BY RN.
ACTIVATED CLOTTING TIME NORMAL RANGE: 92-136 secs

 

LEGEND

L =Low

ADM DT: 07/07/2005 PT.NAME: JETER, EDDIE D

DR. KHPN, SHAHID I AGE/SEX: 58 YRS M UNIT # (00002)00-00277090
DISCHARGE DATE: 07/08/05 ROOM NO: 2127 FIN #: 05188-00400

PRINTED BY: MCM7524
DATE: 7/2?/2005

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001-l CaSe 2:97-cr-20234-.]PMMPEIechmentst09 Fl|ed 08/03/05 Page 0 8 Page|D 77

COAGULATION

COLL.DATE: Ul/GT/OS
COLL.TIME: 1038
ACTIVATED CLOTTING TIME

ACTIVATED CLOTTING TIME
ACTIVATED CLOTTING TIME

SEE PATIENT CHART FOR LABORATORY RESULTS PERFORMED AT THE BEDSIDE BY RN.
ACTIVATED CLOTTING TIME NORMAL RANGE: 92-136 dees

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SEE. PATIENT CHART FOR LABORA'I'ORY RESULTS PERI:"ORMED AT '[`HE BE`.DSIDE`. B`I' RN.
ACTIVATED CLOTTING TIME NORMAL RANGE: 92-136 SECS

ADM DT: 07/07/2005 PT NAME: JETER, EDDIE D
DR. KHAN, SHAHID l AGE/SEX: 58 YRS M UNIT # (00002}00~00277090
DISCHARGE DATE: 07/08/05 ROOM NO: 2127 FIN #: 05188-00400

PRINTED BY: MCH?524
DATE: 7/27/2005

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 109 in
case 2:97-CR-20234 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed

 

 

Carroll L. Andre

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200 Jefferson Avenue

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Honorable 1011 McCalla
US DISTRICT COURT

